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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    RAVN AIR GROUP, INC. et al.,1                                Case No. 20-10755 (BLS)

                    Debtors.                                     (Jointly Administered)
                                                                 Re: Docket Nos. 197 & 295

                                 NOTICE OF SALE PROCEDURES,
                               AUCTION DATE, AND SALE HEARING

        PLEASE TAKE NOTICE that on May 14, 2020, the above-captioned affiliated debtors
and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Orders (I)(A)
Authorizing and Approving the Bidding Procedures, (B) Approving Procedures Related to the
Assumption of Certain Executory Contracts and Unexpired Leases; (C) Approving the Notice
Procedures, (D) Authorizing Entry Into One or More Stalking Horse Agreements, and (E) Setting
a Date for the Sale Hearing; and (II) Authorizing and Approving (A) the Sale of Certain Assets
Free and Clear of All Liens, Claims, Encumbrances and Interests, (B) the Assumption and
Assignment of Certain Contracts, and (C) Payment of Bid Protections, If Applicable (the
“Motion”)2 [Docket No. 197]. The Debtors seek, among other things, to sell all, substantially all,
or some substantial portion of their assets (the “Assets”) to the successful bidder(s) (the
“Successful Bidder”), at an auction free and clear of all liens, claims, encumbrances and other
interests, and to assume and assign certain leases and executory contracts in connection therewith,
pursuant to Sections 363, 365, and/or 1123(a)(5)(D) of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that, on June 3, 2020, the Bankruptcy Court
entered an order (the “Bidding Procedures Order”) approving the Motion and the bidding
procedures (the “Bidding Procedures”), which set the key dates and times related to the Sale of the
Assets. All interested bidders should carefully read the Bidding Procedures Order and the Bidding
Procedures. To the extent that there are any inconsistencies between the Bidding Procedures Order
(including the Bidding Procedures) and the summary description of its terms and conditions
contained in this Notice, the terms of the Bidding Procedures Order shall control.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bidding
Procedures, an auction (the “Auction”) to sell the Assets will be conducted at a time and date to
be identified in a notice filed with the Bankruptcy Court at least 24 hours before the Auction, at

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         The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number
are as follows: Ravn Air Group, Inc. (3047), Ravn Air Group Holdings, LLC (5356), JJM, Inc. (4858), HoTH, Inc.
(9957), Peninsula Aviation Services, Inc. (6859), Corvus Airlines, Inc. (7666), Frontier Flying Service, Inc. (8091),
and Hageland Aviation Services, Inc. (2754). The notice address for all of the Debtors is 4700 Old International
Airport Road, Anchorage, AK 99502.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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the offices of Blank Rome LLP, located at 1201 N. Market Street, Suite 800, Wilmington,
Delaware 19801, or at such other location, including by virtual meeting, as shall be identified in
such notice. Within twenty-four (24) hours of the conclusion of the Auction, the Debtors shall file
a notice with the Bankruptcy Court identifying the Successful Bidder(s), which notice will be made
available at the website of the Debtors’ claims and noticing agent, at
[https://cases.stretto.com/ravnair/].

        PLEASE TAKE FURTHER NOTICE that the Motion seeks entry of an order (the “Sale
Order”) that is expected to provide, among other things, that any Successful Bidder will have no
responsibility for, and the Assets will be sold free and clear of, any successor liability, including
the following: (a) any liability or other obligation of the Debtors’ estates or related to the Assets
other than as expressly set forth in the Sale Order; or (b) any claims against the Debtors, their
estates, or any of their predecessors or affiliates. Except as expressly provided in any Sale Order,
the Successful Bidder(s) shall have no liability whatsoever with respect to the Debtors’ estates’ (or
their predecessors’ or affiliates’) respective businesses or operations or any of the Debtors’ estates’
(or their predecessors’ or affiliates’) obligations based, in whole or part, directly or indirectly, on
any theory of successor or vicarious liabilities of any kind or character, including, but not limited
to, any theory of antitrust, environmental, successor or transferee liability, labor law, joint
employer, de facto merger or substantial continuity, whether known or unknown as of the closing
date, now existing or hereafter arising, whether asserted or unasserted, fixed or contingent,
liquidated or unliquidated with respect to the Debtors or any obligations of the Debtors arising
prior to the closing date, including, but not limited to, liabilities under any collective bargaining
agreement or on account of any taxes arising, accruing or payable under, out of, in connection
with, or in any way relating to the operation of any of the Assets prior to the closing of the Sale.

        PLEASE TAKE FURTHER NOTICE that a hearing will be held to approve the Sale of
the Assets to the Successful Bidder(s) (the “Sale Hearing”) before the Honorable Brendan L.
Shannon, United States Bankruptcy Judge, United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”), located in Wilmington, Delaware, 824 North Market Street,
Wilmington, Delaware 19801, 6th Floor, Courtroom 1, on July 9, 2020 at 11:00 a.m. (prevailing
Eastern Time), or at such time thereafter as counsel may be heard or at such other time as the
Bankruptcy Court may determine. The Sale Hearing may be adjourned from time to time without
further notice to creditors or parties in interest other than by announcement of the adjournment in
open court on the date scheduled for the Sale Hearing. Objections to the Sale shall be filed with
the Bankruptcy Court and served so as to be received no later than 4:00 p.m. (prevailing
Eastern Time) on June 29, 2020 by: (i) Debtors’ counsel, (a) Keller Benvenutti Kim LLP, Attn:
Tobias S. Keller, Esq. and Jane Kim, Esq., 650 California Street, Suite 1900, San Francisco, CA
93108, tkeller@kbkllp.com, jkim@kbkllp.com; and (b) Blank Rome LLP, Attn: Victoria A.
Guilfoyle, Esq., Stanley B. Tarr, Esq., Jose F. Bibiloni, Esq., 1201 N. Market Street, Suite 800,
Wilmington,        Delaware      19801,        guilfoyle@blankrome.com,      tarr@blankrome.com,
bibiloni@blankrome.com; (ii) counsel to the DIP Agent, (a) Winston & Strawn LLP, 200 Park
Avenue, New York, New York 10166, Attn: David Neier, Esq. and Carrie V. Hardman, Esq.,
dneier@winston.com, chardman@winston.com; and (b) Ashby & Geddes, 500 Delaware Avenue,
8th Floor, Wilmington, Delaware 19801, Attn: William P. Bowden, Esq.,
wbowden@ashbygeddes.com; (iii) the Office of the United States Trustee for the District of
Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: Timothy
J. Fox, Esq.); and (iv) counsel to the Creditors Committee, (a) Brown Rudnick LLP, Seven Times


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Square, New York, New York 10036, Attn: Robert Stark, Esq. and Oksana Lashko, Esq.,
rstark@brownrudnick.com, olashko@brownrudnick.com; and (b) Polsinelli PC, 222 Delaware
Avenue, Suite 1101, Wilmington, DE 19801, Attn: Christopher Ward, Esq.,
cward@polsinelli.com.

      PLEASE TAKE FURTHER NOTICE that counterparties to contracts that may be
assumed and assigned to the Successful Bidder(s) will receive a separate notice regarding cure
amounts and adequate assurance of future performance.

     PLEASE TAKE FURTHER NOTICE THAT ANY PARTY OR ENTITY WHO
FAILS TO TIMELY MAKE AN OBJECTION TO THE SALE ON OR BEFORE THE
SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE FOREGOING
PARAGRAPH SHALL BE FOREVER BARRED FROM ASSERTING ANY OBJECTION
TO SUCH SALE, INCLUDING WITH RESPECT TO THE TRANSFER OF THE
DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES,
AND OTHER INTERESTS, EXCEPT AS SET FORTH IN THE ASSET PURCHASE
AGREEMENT(S).

        PLEASE TAKE FURTHER NOTICE that this Notice of the Auction and Sale Hearing
is subject to the full terms and conditions of the Motion, Bidding Procedures Order and Bidding
Procedures, which Bidding Procedures Order shall control in the event of any conflict, and the
Debtors encourage parties in interest to review such documents in their entirety. Any party that
has not received a copy of the Motion or the Bidding Procedures Order that wishes to obtain a
copy of the Motion or the Bidding Procedures Order, including all exhibits thereto, may obtain
such documents at the Debtors’ case website (https://cases.stretto.com/ravnair/) or by written
request to Stretto, the Debtors’ Claims and Noticing Agent, at teamravnair@stretto.com or by
telephoning Stretto at (855) 749-4543.




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 Dated: June 4, 2020                          BLANK ROME LLP
        Wilmington, Delaware
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                                              Attorneys for Debtors and Debtors-in-Possession




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